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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                  SHREVEPORT DIVISION


 JAMES M. WHEAT and DANNY
 BRINSON, individually and on behalf of all
 other persons similarly situated,                     Case No. 5:17-cv-424-SMH-MLH
                                                       (Class Action)
        Plaintiffs,
                                                       Judge Hicks
        v.
                                                       Magistrate Judge Hornsby
 MIKE CRAIG, JEFF R. THOMPSON,
 JEFF COX, E. CHARLES JACOBS, MIKE
 NERREN, and PARKER SELF in their
 official capacities as Judges of the 26th
 Judicial District Court; and JULIAN C.
 WHITTINGTON, in his official capacity as
 Sheriff of Bossier Parish,

        Defendants.


         JOINT MOTION FOR ENTRY OF ORDER APPROVING SETTLEMENT
              AGREEMENT AND JOINT STIPULATION OF DISMISSAL

        Plaintiffs and Defendants (“the Parties”) move this Court for an order approving the

 attached proposed settlement agreement, Ex. 1. For the reasons set forth in the accompanying

 memorandum, the Parties believe that the attached settlement agreement adequately addresses

 Plaintiffs’ claims while avoiding protracted litigation. Subject to approval of this agreement and

 the Court’s continuing jurisdiction to enforce this agreement, the Plaintiffs will agree to dismiss

 the matter with prejudice.
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                        Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

  I certify that a copy of the foregoing was filed using the Court’s CM/ECF filing system, which
                        will provide electronic notice to all counsel of record.

                                     s/ Eric Foley
                                     Eric Foley




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